   Case 1:21-bk-10802   Doc 117    Filed 04/11/23 Entered 04/11/23 09:43:55   Desc Ntc
                                  of Assets Page 1 of 2
                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF RHODE ISLAND

In Re: Karen E Brennan                                           Case No.:
                                                                 1:21−bk−10802

         NOTICE TO FILE PROOF OF CLAIM DUE TO THE RECOVERY OF ASSETS
The initial notice in this case instructed creditors that it was not necessary
to file a proof of claim at that time. Recently however, the case Trustee
notified the court that there may be assets available for distribution to
creditors, and therefore you are being notified to file a proof of claim in
order to participate in any possible distribution.

Non Governmental Creditors who wish to share in any distribution of funds must
file a proof of claim with the Clerk of the Bankruptcy Court on or before:

               Date: 7/10/23


Governmental Unit Creditors must file a proof of claim on or before:

               Date: 7/10/23


It is your responsibility to notify the court of any change in address.
Failure to do so may result in the deposit of any distribution to you into the
court's unclaimed funds registry. Creditors who do not file a proof of claim
on or before the applicable deadline may not share in any distribution from
the debtor's bankruptcy estate.

The proof of claim form [B 410] is available on the court's website under
forms or from the uscourts website at
http://www.rib.uscourts.gov/forms/bankruptcy−forms/proof−claim−0.

If you mail the POC form and would like a receipt of your filing, you must
enclose a copy of the POC form, together with a stamped, self−addressed return
envelope.

       Three Ways to File the Proof of Claim (POC) Form with the Court

(1) File the POC form electronically from the court's website at
www.ribuscourts.gov/epoc;
(2) Registered electronic filers may file the POC form in our CM/ECF system;
(3) Mail the POC form to the Clerk of the U.S. Bankruptcy Court at 380
Westminster Street, 6th Floor, Providence, RI 02903.

There is no fee for filing a Proof of Claim form.

All creditors must file a POC on or before the applicable deadline to
participate in any distribution. If you previously filed a POC in this case,
you don not need to file a new one now.
                                                          By: cs

                                                                 Deputy Clerk
                                                                 Dated: 4/11/23


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           The Federal Center · 380 Westminster Street, 6th Floor · Providence, RI 02903 · Tel: (401) 626−3100

                                             Website: www.rib.uscourts.gov
